Case 2:Ol-cr-20043-.]PI\/| Document 22 Filed 08/29/05 Page 1 of 2 Page|D 28

 

mm Bv__,
:N THE UNITED sTATES D:STRICT coURT ‘“'-'~m
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIvIsION 05 ms 29 AH 6=1¢3
i`riOwwi.a:UD
UNITED sTATEs oF AMERICA QUIYYTHCTM

Plaintiff,

V.

i/gd»;¢ /7¢-'//- J

Criminal No.i/ -M; Ml

(GO-Day Continuance)

 

 

Defendant(s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav, October 28, 2005. at
10:30 a.m.

SO ORDERED this 26th day of August, 2005.

@WOQQ

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

  

 

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W{‘[h RU\B 55 and/Ol' 32(b) FRCFP On '

 

ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:0]-CR-20043 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

